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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF GEORGIA
           SAVANNAH DIVISION                                                                      ti   9 ':
                                                                                                  r- . >      14
UNITED STATE S

v . 405CR59
                                                      Bradley's suspicion that the boxes contain
MARTIN J . BRADLEY JR. et al .,
                                                      material documents, based on "information and
   Defendants.                                        belief," is not enough to compel government
                                                      production . See, e.g., U.S v. Jordan, 316 F .3d
                     ORDE R                           1215, 1250 (11th Cir . 2003) ("A general
                                                      description of the item will not suffice [under
  This criminal RICO prosecution arises from          F.R.Cr.P. 161 ; neither will a conclusory
a prescription-drug-based fraud scheme                argument that the requested item is material to
advanced in varying degrees by eight individual       the defense"). Since neither Rule 16 nor Brady
and two corporate defendants . Doc . # 228 . The      compels the production of the documents sought'
defendants have filed some final motions in the       here, Bradley III's motion is DENIED . Doc.
days leading up to the 2/21/06 trial .                378.

   First, Martin Bradley III h as filed a motion to      Second, Martin Bradley Jr. and Sara Griffin
compel the government to make available 600 to        each filed a motion in limine seeking to require
700 boxes of discovery alleged to have been           the government and its witnesses to identify to
seized by Flo ri da's Medicaid Fraud Control Unit     which defendant a piece of evidence or
in 12/99. Doc. # 378 . Bradley III claims that        testimony pert ains . Doc . ## 372, 382 . They
under Brady v. Maryland, 373 U . S . 83 (1963),       argue that this requirement is necessary to
the government must turn over those boxes             ensure that the jury can consider the case of
because they relate to Larry Pinkoff, an expected     each defendant individually. Id. (citing U.S. v.
government witness in the case. Id. 111-2 .           Tipton, 90 F .3d 861, 892-93 (4th Cir. 1996)) .

   The government responds that Bradley's                The Court recognizes the importance of
"undisclosed" source is incorrect : all documents     making sure the jury gives individualized
relating to Pinkoff seized by the Florida             consideration to each defendant' s case .
Medicaid unit around that date have been made         However, it would also be impractical to place
available . Doc. # 381 . Any other documents          a blanket prohibition on all references to "the
seized by the Florida Medicaid unit, the              defendants ." Accordingly, the Court prefers to
government states, were seized from entities not      hold these motions in limine IN ABEYANCE
related to Pinkoff and thus are not material to       until the trial . Doc. ## 372, 382 .
this case . Id.
                                                         Finally, the Court notes that it mentioned but
   Under F .R.Cr.P. 16 and Brady, the                 did not explicitly adopt the Magistrate Judge's
government must turn over only that evidence          1/24/06 Report and Recommendation (R&R) in
which is material to preparing the defense or         a previous Order . Doc . # 356. That R&R
which the government intends to use in its case-      denied defendant Martin J . Bradley Jr.'s motion
in-chief. The documents sought here do not fall       to be deemed incompetent to stand trial. Doc.
into either of those categories, and                  ## 277, 288. Bradley Jr. has filed an objection
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to that R&R . Doc . # 386 . A fter a careful de
novo review, this Cou rt nowADOPTS that R&R
as the opinion of this Court. Doc. # 349 .

  This day of February, 2006 .




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UNITED STATES 3MST RICE COURT
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